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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SECRETARY OF LABOR, UNITED                          Civil Action No. 16-cv-1079-MSG
STATES DEPARTMENT OF LABOR,

                  Plaintiff,

       v.

LLOYD INDUSTRIES, INC., and

WILLIAM P. LLOYD, an individual,

                  Defendants.


 NOTICE OF SATISFACTION OF JUDGMENT AND REQUEST TO RELEASE BOND

       Plaintiff Eugene Scalia, The Secretary of Labor, and Defendants Lloyd Industries, Inc.

and William P. Lloyd, through the undersigned counsel, hereby notify the Court that the

Judgment entered by the Court on August 9, 2019 (ECF 111) has been satisfied as to all

Defendants through a settlement agreement. Accordingly, Defendants respectfully request that

the Court enter an Order releasing the supersedeas bond in the amount of $1,256,879.00 with

Zurich American Insurance Company, Colonial American Casualty And Surety Company, and

Fidelity and Deposit Company of Maryland, posted on or about November 1, 2019. (See ECF

Entry dated November 1, 2019). Plaintiff Secretary of Labor does not object to this request.

Respectfully submitted,

/s/ Judson Dean                                     /s/ Brandon J. Brigham
Judson Dean, Esq.                                   Brandon J. Brigham, Esq.
Senior Attorney                                     Morgan, Lewis & Bockius LLP
U.S. Department of Labor                            1701 Market Street
Office of the Solicitor,                            Philadelphia, PA 19103-2921
170 S. Independence Mall West, Suite 630E           (215) 963-4780 (direct)
Philadelphia, PA 19106                              (215) 963-5000 (main)
(215) 861-5138 (phone)                              (215) 963-5001 (fax)
(215) 861-5162 (fax)                                brandon.brigham@morganlewis.com
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                      ATTESTATION REGARDING CONCURRENCE

        In accordance with Court’s Local Rules and the Clerk’s Procedural Handbook , I,

Brandon J. Brigham, counsel for Defendants, attest that each other signatory listed above has

concurred in this filing.




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                                CERTIFICATE OF SERVICE

       I, Brandon J. Brigham, hereby certify that on this 2nd day of June 2020, I filed via the

Court’s ECF system, the foregoing document which caused electronic notification upon all

counsel of record.


                                             /s/ Brandon J. Brigham
                                             Brandon J. Brigham
                                             brandon.brigham@morganlewis.com
                                             MORGAN, LEWIS & BOCKIUS LLP
                                             1701 Market Street
                                             Philadelphia, PA 19103
                                             (215) 963-5000
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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SECRETARY OF LABOR, UNITED                        Civil Action No. 16-cv-1079-MSG
STATES DEPARTMENT OF LABOR,

                  Plaintiff,

       v.

LLOYD INDUSTRIES, INC., and

WILLIAM P. LLOYD, an individual,

                  Defendants.


            [PROPOSED] ORDER MARKING JUDGMENT AS SATISFIED
                    AND RELEASING SUPERSEDEAS BOND

       Pursuant to the Parties’ Notice of Satisfaction of Judgment, the Court hereby ORDERS

that the Judgment entered on August 9, 2019 (ECF 111) has been satisfied by Defendants as to

Plaintiff. Accordingly, the Court further ORDERS the supersedeas bond in the amount of

$1,256,879.00 with Zurich American Insurance Company, Colonial American Casualty And

Surety Company, and Fidelity and Deposit Company of Maryland, posted on or about November

1, 2019 be RELEASED.



       SO ORDERED, this ____th day of ______________, 2020



                                           ___________________________________
                                           HON. MITCHELL S. GOLDBERG
                                           United States District Judge
